Case 2:04-cr-20409-.]DB Document 33 Filed 04/21/05 Page 1 of 2 Page|D 42

IN THE UNITED sTATEs DISTRICT coURT *’:~"

FoR THE wEsTERN DISTRICT oF TENNESSEE ` h
wEsTERN DIVISION 95~"-5’:’< di isn 3 .;;J,

F?OB{:'PT 1052 §i "‘ €{)
GLLII\:- I.J.J. L,, V"f;
W.D. OF ',i`N M£; r'v'iPHlS
UNITED STATES OF AMERICA,

Plaintiff,
vs.

CR. NO. 04-20409~01~Ma

DEMARCUS ROGERS ,

~_,~_._,~._,~_/~_._¢~._,V\_._,~._,

Defendant.

 

ORDER ON CONTIN'UANCE A.ND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., with a
report date of Thursday, April Zl, 2005 at 2:00 p.m.

The period fronl March 25, 2005 through. May l3, 2005 is
excludable under l8 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

I'r J:s so 0RDERED this 7‘°& day cf April, 2005.

JM/W'»~

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 33 in
case 2:04-CR-20409 Was distributed by faX, mail, or direct printing on
April 25, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

